EXHIBIT 3

Case 1:18-cv-00007-MR-WCM Document 1-3 Filed 01/08/18 Page 1of11

 
 

PO Box 9701

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? experian.

Dear TERI LYNN HINKLE

We are responding to your request regarding your personal credit report.
The address you provided has never been reported to us. To assist you, we
must verify your current mailing address. Please provide the following:

® One copy of a government issued identification card, such as
a driver’s license, state ID card, etc. displaying your current
address, and

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-CO1-P37010-1

Scan me with your smart phone
for special offers from Experian.

0036974 01 FP 0.453 **PRSRT T40 7241 28906

TERI LYNN HINKLE
19 MOSSY GREEK TRAIL

Allen, TX 75013
MURPHY NC 28906

0035467468

Prepared for: TERI LYNN HINKLE
:.,.,. Date: October 07, 2017
- Report number: 3805-1546-56

Page 1 of 2

e One copy of a current utility bill, bank or insurance statement,
etc.

Please also include the following identification information:

e Your full name including middie initial (and generation - JR, SR, Il,
Hf

e Social Security number.

e Date of birth

e Complete addresses for the past two years

Make sure that each copy is legible and displays your name and current
mailing address and the date of issue. We are unable to accept voided
checks, lease agreements, magazine subscriptions or postal service
forwarding orders as proof.

To protect your personal identification information, Experian does not return
correspondence sent to us. Send copies of any documents you wish to
provide to us and always retain your original documents. You may also
submit your request or documents supporting your claim electronically at
experian.com/upload.

List any information that you would like to dispute, and tell us
specifically why you believe the information is not accurate\When we
complete the processing of your dispute, which may take up to 30 days (or

up to 45 days for a dispute of information in a free annual credit report), we

will send you the results. You may want to notify your creditors of your
current address. If you previously mailed us documents supporting your
dispute, you must mail them again with the above listed information.

For faster service, visit www.experian.com/help for secure and immediate
online access to your personal credit report, or call 1 (888) EXPERIAN
(1 888 397-3742) to order your report for delivery by U.S. mail.

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092003213-FLT
TER! LYNN HINKLE September 21, 2017
19 MOSSY CREEK TRL -
MURPHY NC 28906-7728

Dear TERI LYNN HINKLE: -

Your request conceming your Equifax file or credit score has been received and we are looking forward to serving
you. At this time there is a charge for the Equifax credit file and/or score. |

The charge for a disclosure is $11.50. Additional reports within 12 months are $11.50. The charge for the credit score
is $7.95. If you have a major credit card, you may use our automated ordeting system at 1-800-685-1111.

To protect the confidentiality of your file, please forward to us the items listed below.

A copy of one item in EACH of the categories below is needed in order to verify your identification and address. The
item-yotrchoose in the identity category MUST contain your Social Secutity:number, andthe item you choose in the
address category MUST contain your current mailing address of. TERI LYNN HINKLE, 19 MOSSY CREEK TAL,

MURPHY NC 28906-7728.

IDENTIFICATION (NAME OR SSN) CURRENT ADDRESS

*Birth certificate or Marriage certificate with current name “Driver's license

*Pay stub with complete U.S. Social Security number *Rentallease agreement/house deed

*W2 form with complete U.S. Social Security number * Mortgage statement or bank statement

*Valid Social Security Card *Utility bill (i.e. gas, cable, residential telephone bill)

Note: A work permit only card is not valid proof of a SSN
To ensure that your request is processed accurately, please enlarge photocopies of any items that contain small print
(e.g. driver's license, W2 forms, etc.). To avoid additional delays, keep in mind that if photocopies are not legible or
contain highlighting, they may cause us to ask that you resubmit your request with more legible documents.

Please submit the requested identification/address information and this letter to the address below:

Equifax Information Services LLC .
P. 0. Box 105379
Atlanta GA 30348-5379

If you included payment.in the form of a personal check, it has been shredded for your protection. If you included a
money order it is being returned to you in a separate mailing. Please include the correct payment with the new

request
Thank you for the opportunity to assist you.

Equifax information Services LLC

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EQUIFAX

CREDIT FILE : September 19, 2017
Confirmation # 7262108365

Otherwise, we contacted the company reporting the information to Equifax for them to investigate your dispute. °

In this situation:

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We request that the reporting company verify the accuracy of the information you disputed:

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: SepRs 20
Dear TERI LYNN HINKLE: i VOr2@s & w
: —EeK2y ae
We are pleased to let you know that the results of the dispute you recently filed with Equifax are complete. Here are a g S a3 ® =
few things to know about the process: S Ores 2 §
NVMZ®o oo
Were changes made to my credit report and what actions were taken? & mn ae 8 Bo
. 4 om =
Please see the following page(s) for more detailed information on your specific results. g = nN
L SOIT nN
If we were able to make changes to your credit report based on the information you provided, we have done so. 8 =
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2
8
3
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dispute to consider as part of the investigation; and :

We request that they send Equifax a response to your dispute and update their records and systems,
as necessary.

If your dispute involves a public record item, Equifax contacts a third party vendor'to obtain the most recent status of
the public record. :

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How do I know that all of this is happening?
When the reporting company replies to us, they certify that they have followed Equitar’s instructions and.the law;
considered all information and documentation provided; and updated your information, as necessary.
What should | do if | do not agree with the results of the investigation? |
You have a few options:
* You may add a statement of up to 100 words (200 words for Maine residents) to your credit report. If you provide a consumer statement that contains

medical information related to services provided or medical procedures, then you expressly consent to including this information in every credit report we
issue about you.

You may contact the company that reports the information to us and dispute it directly with them. If you would like written proof about your accounts (such
as the original agreement), please contact your creditors directly.

You may provide us additional information or documents (such as an identity theft report or a letter from the reporting company) about your dispute to help
us resolve it by visiting our website https:/www.ai.equifax.com/CreditInvestigation/home.action. You may also mail your documents to PO Box 740256,
Atlanta GA 30348 or contact us by calling a Customer Representative at (888) 425-7961 from 9:00 a.m. to 5:00 p.m. Monday - Friday in your time zone.

You may contact the Consumer Financial Protection Bureau or your State Attorney General's office about your issue or complaint against Equifax or the
company reporting the information.

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( Continued On Next Page ) Page tof 4 7262108365APPLADM-002685111- 2668 - 12005 - ,
 

What else should | know?

If there has been a change to your credit report based on your dispute, or if you add a consumer statement, you may request that Equifax send an updated report to
companies who received your credit report within the last two years for employment purposes, or within the last six months for any other purpose (the past 12
months for residents of California, Colorado, Maryland, New York and New Jersey residents). a

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Also, if you are interested, you may request a description of how the reinvestigation was conducted along with the business name, address and telephone numbés
(if reasonably available) of the furnisher of your disputed information.

For frequently asked questions about your credit report and the dispute process, please visit Equifax at https:/help.equifax.com/.

As always, we thank you for contacting Equifax and the results of your dispute are on the pages following this letter.

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{ Continued On Next Page ) Page 2 of 4 © 7262108365APPLADM-002685111- 2668 - 12005
 

 

How should | read my dispute results?

To better assist you with understanding the results of your dispute, please review the information below:
* _ Ifan item states "Deleted", we have removed it from your credit report and taken steps so it does not reappear.

If an item states "Verified as Reported”, the reporting company has certifed it is reporting accurately.

If an item states "Updated", we have updated one or more fields on the ite m based on information received from the reporting company.

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| The Results Of Our Reinvestigation

Phge 6 of 11

 

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>>> We have reviewed the current address. The results are: The current addtess has been added/updated per the information you have supplied. 19 Moss
Creek Trl Murphy NC 28906

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Notice to Consumers

You may request a description of the procedure.used to.determine the accuracy and completeness of the information, including the business name and address
the furnisher of information contacted, and if reasonably available the telephone number. —

MHiled 01/08/

If the reinvestigation does not resolve your dispute, you have the right to add a statement to your credit file disputing the accuracy or completeness of the

information: the statement should be brief and may be limited to not more than one hundred words (two hundred words for Maine residents) explaining the nature
your dispute.

if the reinvestigation results in the deletion of disputed information, or you submit a statement in accordance with the precedin paragraph, you have the right to
request that we send your revised credit file to any company specifically designated by you that received your credit report in the past six months (twelve months f
California, Colorado, Maryland, New Jersey and New York residents) for any purpose or in the past two years for employment purposes.

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( Continued On Next Page ) Page 3 of 4 7262108365 APPLADM-002685111- 2668 - 12005.
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7262108365APPLADM-002685111- 2668 - 12005 -,

Page 4 of 4

( End Of Report )

 
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#31 4334935-017*** File Number: 314334935 of
TransUnion LLC Page: 1 of 2 TransUnion:

PO Box 805 .
Woodlyn, PA 19094-0805 Date Issued: 10/5/2017

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P7H1QB00200325-1000649-041157240

Melos entail
TERI LYNN HINKLE

19 MOSSY CREEK TRL

MURPHY, NC 28906-7728

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Thank you for contacting TransUnion. Our goal is to maintain complete and accurate information on consumer credit reports.
We have provided the information below in response to your request.

Re: Disclosure Request - Proof of Current Mailing Address

We have received your request for a copy of your TransUnion Credit Report. However, the current mailing address you .
provided is not listed in our records. In order for TransUnion to process your request and to protect the confidentiality of your
credit report, please complete the attached form and submit verification of your current address. Acceptable forms of
verification include copies of two (2) of the qualifying documents listed below.

if you would prefer, you may visit us online at www. transunion.com to view a copy of your credit report.

- Drivers License

- State ID Card

- Bank or Credit Union Statement . -

- Cancelled Check ‘

- Government Issued ID Card
- Signed Letter from Homeless Shelter
___ Stamped Past Office Box Receipt _._ a _ a _ _
—~TUtility Bills (Water, Gas, Electric, or Telephone)

- Pay Stub

 

 

When providing proof of your current mailing address please ensure that bank statements, utility bills, cancelled checks and
pay stubs are recent and not older than 2 months. All state issued license and identification cards must be current and
unexpired. PO Box receipts and signed letters from a homeless shelter should not exceed more than 1 year in age. Please
note that electronic statement printed from a website cannot be accepted for proof of address.

If you have any additional questions or concerns, please contact TransUnion at the address shown below, or visit us on the
web at www.transunion.com for general information. When contacting our office, please provide your current file number

314334935.

P.O. Box 1000
Chester, PA 19016-2000

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TransUnion:

File Number: 314334935
Page: 2 of 2
Date Issued: 10/5/2017

 

   

 

 

 

 

Name: SSN:
Current Address: Previous Address:
Other Name(s) Used: Date of Birth :

 

 

 

       

Acceptable forms of Current Address verification Include
copies of two of the following documents that show your
Current Address:

a) Driver's license

b) Utility bill

c) Bank or credit union statement

d) Cancelled check

e) Signed homeless shelter letter

f) Stamped post office box receipt

g) Government issued ID ,

h) State ID card

i) Pay stub

important notes regarding acceptable forms of proof:

¢ Utility Bills, Bank or Credit Union Statements, Cancelled Checks and Pay Stubs must not be older than 2 months.
* P.O. Box Receipts and Homeless Shelter Letters must not be older than 12 months.

¢ We are unable to accept documents that contain a past expiration date as proof.

* Electronic statements printed from a website cannot be accepted as proof.

 

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Acceptable forms of Social Security verification include a copy of one
of the following documents that shows your Social Security Number:
a) Social Security card

b) Letter from the Social Security Administration

©) Military ID

d) Medicaid or Medicare card

 

Acceptable forms of Date of Birth verification include a copy of one of
the following documents that shows your Date of Birth:

a) Birth certificate

b) Driver's license

c) Government issued ID.

d) Passport

 

 

      

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If you would like to receive your TransUnion Consumer Credit Score in addition to the credit report, please provide additional

payment.
TransUnion Credit Score - $9.95
Check here (| to include credit score with credit report.
Check credit ss a
card type: CI (eciie ee CJ C] VISA

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Card Number:

 

 

 

 

 

 

 

 

 

 

 

 

| Expiration

 

 

 

 

 

 

 

You may also pay by sending a check or money order, for the required amount, payable to TransUnion. Once payment is received,
we will promptly send you a copy of your credit report (and score if applicable).

/_—

 

Month/Year:

 

 

 

 

Form-950 (Disclosure Request)

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***314334935-019"** Fite Number: 314334935 °
? TOFD TransUnion:

TransUnion LLC Page:
Box 805 :
Woodlyn, PA 19094-0805 Date Issued: 10/18/ 2017

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TERI LYNN HINKLE

19 MOSSY CREEK TRL
MURPHY, NC 28906-7728

Thank you for contacting TransUnion. Our goal is to maintain complete and accurate information on consumer credit reports.
We have provided the information below in response to your request.

Re: Disclosure Request - Proof of Current Mailing Address

We have received your request for a copy of your TransUnion Credit Report. However, the current mailing address you
provided is not listed in our records. In order for TransUnion to process your request and to protect the confidentiality of your
credit report, please complete the attached form and submit verification of your current address. Acceptable forms of
verification include copies of two (2) of the qualifying documents listed below.

if you would prefer, you may visit us online at www.transunion.com to view a copy of your credit report.

- Drivers License

- State ID Card

- Bank or Credit Union Statement

- Cancelled Check

- Government Issued ID Card

- Signed Letter from Homeless Shelter

-S ipt
- Utility Bills (Water, Gas, Electric, or Telephone)

- Pay Stub

 

 

When providing proof of your current mailing address please ensure that bank statements, utility bills, cancelled checks and
pay stubs are recent and not older than 2 months. All state issued license and identification cards must be current and
unexpired. PO Box receipts and signed letters from a homeless shelter should not exceed more than 1 year in age. Please
note that electronic statement printed from a website cannot be accepted for proof of address.

If you have any additional questions or concerns, please contact TransUnion at the address shown below, or visit us on the
web at www.transunion.com for general information. When contacting our office, please provide your current file number

314334935.

P.O. Box 1000
Chester, PA 19016-2000

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en 314334935 TransUnion:
Date Issued: 10/18/2017

 

 

 

 

 

Name: SSN:
Current Address: Previous Address:
Other Name(s) Used: . Date of Birth:

 

 

 

      

 

copies of two of the following documents that showyour _ of the following documents that shows your Social Security Number:

 

Current Address: a) Social Security card
a) Driver's license b) Letter from the Social Security Administration
b) Utility bill , c) Military ID
©) Bank or credit union statement d) Medicaid or Medicare card
d) Cancelled check .
e) Signed homeless shelter letter Pisbh al Date of a
f) Stamped post office box receipt Acceptable forms of Date of Birth verification include a copy of one of
g) Government issued ID the following documents that shows your Date of Birth:
h) State ID card _ a) Birth certificate
i) Pay stub b) Driver's license

c) Government issued ID

d) Passport

important notes regarding acceptable forms of proof:
* Utility Bills, Bank or Credit Union Statements, Cancelled Checks and Pay Stubs must not be older than 2 months.

* P.O. Box Receipts and Homeless Shelter Letters must not be older than 12 months.
e We are unable to accept documents that contain a past expiration date as proof.
¢ Electronic statements printed from a website cannot be accepted as proof.

 

 

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AHGUC _
IF you would like to receive your TransUnion Consumer Credit Score in addition to the credit report, please provide additional

payment.
TransUnion Credit Score - $9.95

Check here C] to include credit score with credit report.

Check credit | a

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You may also pay by sending a check or money order, for the required amount, payable to TransUnion. Once payment is received,
we will promptly send you a copy of your credit report (and score if applicable).

 

 

 

 

'| Acceptable forms of Current Address verification include Acceptable forms of Social Security verification include a copy of one |) ~

 

 

Form-950 (Disclosure Request)

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